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              8                              UNITED STATES DISTRICT COURT
              9                              EASTERN DISTRICT OF CALIFORNIA
             10                                  SACRAMENTO DIVISION
             11
                  UNITED STATES OF AMERICA,                  Case No. 2:17-CR-00006-MCE
             12
                               Plaintiff,                    [PROPOSED] ORDER GRANTING
             13                                              REQUEST FOR DEFENDANT INES S.
                        v.                                   CROSBY TO APPEAR
             14                                              TELEPHONICALLY
                  JOHN A. CROSBY, INES S. CROSBY, and
             15   LESLIE A. LOHSE,                           Date:         May 19, 2017
                                                             Time:         2:00 p.m.
             16                Defendants.                   Courtroom:    24, 8th Floor
                                                             Judge:        Hon. Carolyn K. Delaney
             17
                                                             Date Filed: January 5, 2017
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                                                             Trial Date: Not Set
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             30                     [PROPOSED] ORDER GRANTING REQUEST FOR DEFENDANT
                                         INES S. CROSBY TO APPEAR TELEPHONICALLY
             31                                    Case No. 2:17-CR-0006-MCE
1164433.01
             32
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              1          FOR GOOD CAUSE APPEARING, THE FOLLOWING IS HEREBY ORDERED:

              2          Defendant Ines S. Crosby’s Request to Appear Telephonically at hearing on Plaintiff’s

              3   Motion for Protective Order Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure is

              4   hereby granted and approved. Benedict Y. Hur of Keker, Van Nest & Peters LLP will appear

              5   telephonically at the hearing scheduled for May 19, 2017.

              6          SO ORDERED.

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                  Dated: May 11, 2017
              8                                                  _____________________________________
              9                                                  CAROLYN K. DELANEY
                                                                 UNITED STATES MAGISTRATE JUDGE
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             30                      [PROPOSED] ORDER GRANTING REQUEST FOR DEFENDANT
                                          INES S. CROSBY TO APPEAR TELEPHONICALLY
             31                                     Case No. 2:17-CR-0006-MCE
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